                                  Case 23-11239-TMH                 Doc 1        Filed 08/24/23           Page 1 of 20


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Phoenix 1040 LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  1550 McKelleps Road
                                  Suite 117
                                  Mesa, AZ 85203
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Maricopa                                                      Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://amerifirstloan.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Phoenix 1040 LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6163

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




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Debtor    Phoenix 1040 LLC                                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Schedule 1                                               Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Phoenix 1040 LLC                                                            Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Phoenix 1040 LLC                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 24, 2023
                                                  MM / DD / YYYY


                             X /s/ T. Scott Avila                                                         T. Scott Avila
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ Laura Davis Jones                                                       Date August 24, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Laura Davis Jones
                                 Printed name

                                 Pachulski Stang Ziehl & Jones LLP
                                 Firm name

                                 919 North Market Street
                                 17th Floor
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-652-4100                  Email address      ljones@pszjlaw.com

                                 2436 DE
                                 Bar number and State




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                                            SCHEDULE 1




          Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a voluntary
petition for relief under chapter 11 of title 11 of the United States Code in the United States Bankruptcy
Court for the District of Delaware. The Debtors have moved for joint administration of these cases
for procedural purposes only under the case number assigned to the chapter 11 case of AmeriFirst
Financial, Inc.

   1. Phoenix 1040 LLC
   2. AmeriFirst Financial, Inc.
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         WRITTEN CONSENT OF THE SOLE MEMBER OF PHOENIX 1040 LLC

                                 Effective as of August 24, 2023

              The undersigned, being the sole member (the “Sole Member”) of PHOENIX
1040 LLC, a Delaware limited liability company (the “Company”), pursuant to laws of the state
of Delaware, does hereby consent to the adoption of the resolutions set forth below with the
same force and effect as though adopted at a meeting duly called and held for the purpose of
acting upon proposals to adopt such resolutions, and directs that this Written Consent of Sole
Member be filed in the records of the Company.

               WHEREAS, the Sole Member has reviewed the materials presented by the
management of and the advisors to the Company regarding the possible need to restructure the
Company, and has analyzed each of the strategic alternatives available to it, and the impact of the
foregoing on the Company's business and its stakeholders;

               NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Sole
Member, it is desirable and in the best interests of the Company, its creditors, stockholders and
other interested parties that a petition be filed by the Company seeking relief under the
provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

                 RESOLVED, that the officers of the Company (each, an “Authorized Officer”)
be, and each of them hereby is, authorized on behalf of the Company to execute, verify and file
all petitions, schedules, lists, and other papers or documents, and to take and perform any and all
further actions and steps that any such Authorized Officer deems necessary, desirable and proper
in connection with the Company’s chapter 11 case, with a view to the successful prosecution of
such case;

                RESOLVED, that the Authorized Officers, on behalf of the Company, are
authorized, empowered and directed to retain the law firm of Pachulski Stang Ziehl & Jones LLP
(“PSZ&J”) as bankruptcy counsel to represent and assist the Company in carrying out its duties
under chapter 11 of the Bankruptcy Code, and to take any and all actions to advance the
Company’s rights in connection therewith, and the Authorized Officers are hereby authorized
and directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the bankruptcy, and to cause to be filed an appropriate application
for authority to retain the services of PSZ&J;

               RESOLVED, that the Authorized Officers of the Company be, and hereby are,
authorized and directed to employ any other professionals necessary to assist the Company in
carrying out its duties under the Bankruptcy Code; and in connection therewith, the officers of
the Company are hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers prior to or immediately upon the filing of the chapter 11 case and cause
to be filed appropriate applications with the bankruptcy court for authority to retain the services
of any other professionals, as necessary, and on such terms as are deemed necessary, desirable
and proper;




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                 RESOLVED, that the Authorized Officers of the Company be, and each of them
hereby is, authorized and empowered to obtain post-petition financing according to terms which
may be negotiated by the management of the Company, including under debtor-in-possession
credit facilities or the use of cash collateral; and to enter into any guaranties and to pledge and
grant liens on its assets as may be contemplated by or required under the terms of such post-
petition financing or cash collateral agreement; and in connection therewith, the Authorized
Officers of the Company are hereby authorized and directed to execute appropriate loan
agreements, cash collateral agreements and related ancillary documents;

                 RESOLVED, that in the judgment of the Sole Member it is desirable and in the
best interests of the Company that the Company conduct an orderly liquidation of substantially
all of its assets and, therefore, the Company is hereby authorized to enter into one or more asset
purchase agreements and/or take other appropriate actions to effectuate such orderly liquidation
on such terms that management determines will maximize value, and the Company is further
authorized to file one or more motions to approve any such sales and for any related relief, or to
approve sales of assets to a higher and better bidder, and to close such sale(s) or transactions,
subject to Bankruptcy Court approval in the Company’s chapter 11 proceeding;

                RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized on behalf of the Company to take any and all actions, to execute, deliver, certify, file
and/or record and perform any and all documents, agreements, instruments, motions, affidavits,
applications for approvals or rulings of governmental or regulatory authorities or certificates and
to take any and all actions and steps deemed by any such Authorized Officer to be necessary or
desirable to carry out the purpose and intent of each of the foregoing resolutions and to effectuate
a successful chapter 11 case, including, but not limited to the development, filing and
prosecution to confirmation of a chapter 11 plan and related disclosure statement; and

                RESOLVED, that any and all actions heretofore taken by any Authorized Officer
or the directors of the Company in the name and on behalf of the Company in furtherance of the
purpose and intent of any or all of the foregoing resolutions be, and hereby are, ratified,
confirmed, and approved in all respects;




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               RESOLVED, that in connection with the commencement of the chapter 11 case
by the Company, the Authorized Officers be and hereby are, authorized and empowered on
behalf of, and in the name of, the Company, to negotiate, execute and deliver a cash collateral
arrangement and/or debtor-in-possession loan facility and the related guarantees thereto
(including, in connection therewith, such notes, security agreements and other agreements or
instruments as such officers consider appropriate) on the terms and conditions such officer or
officers executing the same may consider necessary, proper or desirable, such determination to
be conclusively evidenced by such execution or the taking of such action, and to consummate the
transactions contemplated by such agreements or instruments on behalf of the Company and any
affiliates.

                                           SOLE MEMBER:

                                           PHOENIX 1040 HOLDINGS LLC


                                           By:        /s/ David Sloane
                                                     Name: David Sloane
                                                     Title: Managing Director




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   Fill in this information to identify the case:

   Debtor name    AmeriFirst Financial, Inc., et al.
   United States Bankruptcy Court for the District of
                                                               (State)
                                                                                                                                             Check if this is an
   Case number (If known):
                                                                                                                                             amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
 Unsecured Claims and Are Not Insiders (on a Consolidated Basis)                                                                                         12/15

 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
 creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest
 unsecured claims.


  Name of creditor and complete                 Name, telephone number, and Nature of the claim Indicate if   Amount of unsecured claim
  mailing address, including zip code           email address of creditor   (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                                contact                     debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in total
                                                                            professional        unliquidated, claim amount and deduction for value of collateral or
                                                                            services, and       or disputed setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                    Total claim, if   Deduction for   Unsecured claim
                                                                                                                    partially         value of
                                                                                                                    secured           collateral or
                                                                                                                                      setoff
1. RCP CREDIT                 Peter Aberg             Bond Debt                                      U                                                $17,900,893
   OPPORTUNITIES FUND         Peter.aberg@reverencesa (Partially
   LOAN SPV (FUND III), L.P. pital.com                Secured)
   590 MADISON AVE.
   FLOOR 29
   NEW YORK, NY 10022
2. RCP Customized Credit Fund Peter Aberg             Bond Debt                                      U                                                5,966,964
   (Fund IV-A), L.P.          Peter.aberg@reverencesa (Partially
   590 MADISON AVE.           pital.com               Secured)
   FLOOR 29
   NEW YORK, NY 10022
3. WELLS FARGO BANK, N.A.                             Trade Debt                                     U                                                1,086,315
   420 MONTGOMERY ST.
   SAN FRANCISCO, CA 94104

4. US BANK                                                                      Trade Debt           U                                                463,165
  PO BOX 1950
  ST. PAUL, MN 55101

5. LAKEVIEW LOAN                                                                Trade Debt           U                                                431,045
   SERVICING, LLC
   4425 PONCE DE LEON
   MS 5-251
   CORAL GABLES, FL 33146
6. FARHANG AND MEDCOFF                                                          Professional                                                          425,166
   4201 N 24TH ST.                                                              Services
   PHOENIX, AZ 85016

7. TRUIST BANK                                                                  Trade Debt           U                                                417,538
  214 N TRYON ST.
  SUITE 3
  CHARLOTTE, NC 28202
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  Debtor       AmeriFirst Financial, et al.                                                  Case number (if known)
               Name




  Name of creditor and complete         Name, telephone number, and Nature of the claim Indicate if   Amount of unsecured claim
  mailing address, including zip code   email address of creditor   (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                        contact                     debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in total
                                                                    professional        unliquidated, claim amount and deduction for value of collateral or
                                                                    services, and       or disputed setoff to calculate unsecured claim.
                                                                    government
                                                                    contracts)
                                                                                                              Total claim, if   Deduction for   Unsecured claim
                                                                                                              partially         value of
                                                                                                              secured           collateral or
                                                                                                                                setoff

8. PARAGON MICRO INC                                                    Trade Debt                                                              369,975
  1711 W GREENTREE DR.
  TEMPE, AZ 85284

9. JPMCB                                                                Trade Debt                                                              339,942
  270 PARK AVE.
  NEW YORK, NY 10017

10.KASOWITZ BENSON                                                      Professional                                                            187,386
   TORRES LLP                                                           Services
   1633 BROADWAY
   NEW YORK, NY 10019
11.CIT                                                                  Equipment            D                                                  167,689
   75 N FAIR OAKS AVE.                                                  Lease
   SUITE C
   PASADENA, CA 91103
12.TOTAL EXPERT                                                         Trade Debt           D                                                  166,264
   1600 UTICA AVE. S
   MINNEAPOLIS, MN 55416

13.QUARLES & BRADY LLP                                                  Professional                                                            142,077
  2 N CENTRAL AVE. #3                                                   Services
  PHOENIX, AZ 85004

14.UNITED HEALTHCARE                                                    Employee                                                                103,454
  9700 HEALTH CARE LN.                                                  Benefits
  MINNETONKA, MN 55343

15.TRACY KEARNS                                                         Profit Sharing                                                          102,365
  [ADDRESS REDACTED]


16.PHOENIX ARENA                                                        Trade Debt                                                              95,608
   DEVELOPMENT, LP
   201 E JEFFERESON ST.
   PHOENIX, AZ 85004
17.EL CAMINO REAL BUILDING                                              Real Property        D                                                  93,000
                                                                        Lease


18.THE LAW OFFICE OF JEFF                                               Professional                                                            85,463
   A. GEORGE, APC                                                       Services
   14071 PEYTON DR.
   #2710
   CHINO HILLS, CA 91709
19.DB TRUST CO. AMERICAS                                                Trade Debt                                                              76,530
   1761 E ST ANDREW PLACE
   SANTA ANA, CA 92705

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  Debtor       AmeriFirst Financial, et al.                                                  Case number (if known)
               Name




  Name of creditor and complete         Name, telephone number, and Nature of the claim Indicate if   Amount of unsecured claim
  mailing address, including zip code   email address of creditor   (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                        contact                     debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in total
                                                                    professional        unliquidated, claim amount and deduction for value of collateral or
                                                                    services, and       or disputed setoff to calculate unsecured claim.
                                                                    government
                                                                    contracts)
                                                                                                              Total claim, if   Deduction for   Unsecured claim
                                                                                                              partially         value of
                                                                                                              secured           collateral or
                                                                                                                                setoff

20.OPTIMAL BLUE, LLC                                                    Trade Debt                                                              71,896
   5340 LEGACY DR.
   BLDG 2
   2ND FLOOR
   PLANO, TX 75024
21.ARTHUR   J. GALLAGHER                                                Trade Debt                                                              66,367
   RISK MANAGEMENT
   SERVICES
   333 E OSBORN RD.
   SUITE 100, 270, AND 300
   PHOENIX, AZ 85012
22.ASSIMILATE SOLUTIONS                                                 Trade Debt                                                              62,432
   TOWER 49
   12 E 49TH ST.
   34TH FLOOR
   NEW YORK, NY 10017
23.ARIVS                                                                Trade Debt                                                              44,150
   1930 N ARBOLEDA RD
   MESA, AZ 85213

24.EXPERIAN                                                             Trade Debt                                                              40,677



25.MOURIER LAND                                                         Real Property        D                                                  40,000
   INVESTMENT                                                           Lease
   CORPORATION
   1430 BLUE OAKS BLVD.
   SUITE 190
   ROSEVILLE, CA 95747
26.CLEARCOMPANY HRM                                                     Trade Debt           D                                                  37,290
   200 CLARENDON ST.
   49TH FLOOR
   BOSTON, MA 02116
27.COUSINS FUND II PHOENIX                                              Real Property                                                           33,347
   III, LLC                                                             Lease
   3800 N CENTRAL AVE.
   SUITE 460
   PHOENIX, AZ 85012
28.MORTGAGE COACH                                                       Trade Debt           D                                                  30,625
   PO BOX 112
   CORONA, CA 92878

29.FLOIFY                                                               Trade Debt           D                                                  30,601
  1630A 30TH ST.
  SUITE 120
  BOULDER, CO 80301


Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims (on a consolidated basis)                page 4
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  Debtor       AmeriFirst Financial, et al.                                                  Case number (if known)
               Name




  Name of creditor and complete         Name, telephone number, and Nature of the claim Indicate if   Amount of unsecured claim
  mailing address, including zip code   email address of creditor   (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                        contact                     debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in total
                                                                    professional        unliquidated, claim amount and deduction for value of collateral or
                                                                    services, and       or disputed setoff to calculate unsecured claim.
                                                                    government
                                                                    contracts)
                                                                                                              Total claim, if   Deduction for   Unsecured claim
                                                                                                              partially         value of
                                                                                                              secured           collateral or
                                                                                                                                setoff

30.LANE POWELL                                                          Professional                                                            30,047
  1420 5TH AVE.                                                         Services
  SUITE 4200
  SEATTLE, WA 98101




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                       IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

 In re:                                             Chapter 11

 PHOENIX 1040 LLC,                                  Case No. __-_____ (___)

                               Debtor.

                   CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


                Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the undersigned authorized officer of the above-
captioned Debtor, certifies that the following is a corporation other than the Debtor, or a
governmental unit, that directly or indirectly owns 10% or more of any class of the corporation’s
equity interests, or states that there are no entities to report under FRBP 7007.1.


 None [check if applicable]

            Name:          RCP Credit Opportunities Fund Loan SPV (Fund
                           III), L.P.
            Address:       590 Madison Ave.
                           29th Floor
                           New York, NY 10022




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                       IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

 In re:                                              Chapter 11

 PHOENIX 1040 LLC,                                   Case No. __-_____ (___)

                               Debtor.

                            LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:



               Equity Holder                     Address of Equity Holder              Percentage of
                                                                                       Equity Held
                                            590 Madison Ave.
 RCP Credit Opportunities Fund Loan
                                            29th Floor                             100%
 SPV (Fund III), L.P.
                                            New York, NY 10022




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                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

    In re:                                                      Chapter 11

    PHOENIX 1040 LLC,                                           Case No. __-_____ (___)

                                      Debtor.

                              CERTIFICATION OF CREDITOR MATRIX


         Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the
United States Bankruptcy Court for the District of Delaware, the above captioned debtor and its
affiliated debtors in possession (collectively, the “Debtors”)1 hereby certify that the Creditor
Matrix submitted herewith contains the names and addresses of the Debtors’ creditors. To the best
of the Debtors’ knowledge, the Creditor Matrix is complete, correct, and consistent with the
Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and records
as of the petition date. However, no comprehensive legal and/or factual investigations with regard
to possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore,
the listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any
listed claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver
of any other right or legal position of the Debtors.




1
    The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040 LLC
    (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite 117,
    Mesa, AZ 85203.

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                                               Consolidated Creditor Matrix
Name                                                               Address
4G BUSINESS SOLUTIONS, INC
ACADEMY MORTGAGE CORPORATION
ADVANTAGE PLUS CREDIT REPORTING, INC.
ADVANTAGE SYSTEMS, INC.
ALTISOURCE HOLDINGS, LLC
ALTURAS STANFORD
AMERICAN PACIFIC MORTGAGE
AMERIHOME MORTGAGE COMPANY, LLC
ANNUAL REGISTRATION MANAGEMENT SERVICES, LLC
ARIVS
ARIZONA ACADEMY OF REAL ESTATE INC
ARTHUR J. GALLAGHER RISK MANAGEMENT SERVICES
ASSIMILATE SOLUTIONS
BENSON SYSTEMS
BLACK KNIGHT TECHNOLOGIES, LLC
BUCHALTER
CAPITAL INSURANCE SERVICES
CENTURYLINK
CISCO CREDIT INFORMATION SERVICES COMPANY
CIT
CITY OF MESA CUSTOMER SERVICE
CLEARCAPITAL.COM INC
CLEARCOMPANY HRM
CLIX MARKETING GROUP INC
COMCAST.
CORELOGIC CREDCO LLC
CORELOGIC SOLUTIONS, LLC
COSOL PROPERTY MANAGEMENT
COUSINS FUND II PHOENIX III, LLC
COX COMMUNICATIONS
DAMONTEK
DATAVERIFY
DB TRUST CO. AMERICAS
DIGITECH OFFICE EQUIPMENT
EL CAMINO REAL BUILDING
EXPERIAN
FARHANG AND MEDCOFF
FEDEX
FIRST AMERICAN DATA TREE, LLC
FIRST AMERICAN MORTGAGE SOLUTIONS, LLC
FLOIFY
FREEDOM MORTGAGE CORP
GERACI LEGAL CORPORATION
GOS PRODUCTS FOR BUSINESS
GOTO TECHNOLOGIES USA, INC.
HARRIS PARK PROFESSIONAL PLAZA
HULL BARRETT, PC
JPMCB
KASOWITZ BENSON TORRES LLP
LAKEVIEW LOAN SERVICING, LLC
LANE POWELL
LEGALSHIELD
LES EXTENSION, LLC
LESLIE BROOKS GRIFFITH PLLC
MANSPERGER PATTERSON & MCMULLIN PLC
MASS MUTUAL
MERSCORP HOLDINGS, INC
MORTGAGE COACH
MORTGAGE COLLABORATIVE COOPERATIVE
MORTGAGE REFERENCES INC.
MOURIER LAND INVESTMENT CORPORATION
NAVESINK MORTGAGE SERVICES LLC
NEWREZ, LLC
NORTH CAROLINA DEPARTMENT OF REVENUE
NORTH SCOTTSDALE GATEWAY, LLC
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OCL FINANCIAL SERVICES LLC
ONSITE BUSINESS SERVICE, LLC
OPTIMAL BLUE
OPTIMAL BLUE, LLC
PACIFIC OFFICE AUTOMATION
PARAGON MICRO INC
PARKS COFFEE
PENNYMAC CORP.
PG&E
PHOENIX ARENA DEVELOPMENT, LP
PROSHRED SECURITY
QC ALLY, LLC
QUADIENT FINANCE USA, INC
QUARLES & BRADY LLP
REVERSEVISION, INC
RICHEY MAY & CO
ROBINSON GROUP REALTY
SILVERWORK SOLUTIONS LLC
SYNERGI PARTNERS INC
TALISMAN MARKETING CONSULTING, LLC
TALX CORPORATION
THE HARTFORD
THE LAW OFFICE OF JEFF A. GEORGE, APC
TIDE POOL ENTERPRISES INC
TIEMPO DEVELOPMENT LLC
TOTAL EXPERT
TRACY KEARNS
TRUIST BANK
U.S. BANK THIRD PARTY LENDING
UKG INC.
ULINE
UNIQUE SECURITY, INC.
UNITED HEALTHCARE
UNIVOIP INC
US BANK
VAR TECHNOLOGY FINANCE
VERI‐TAX
WELLS FARGO BANK, N.A.
WELLS FARGO FINANCIAL LEASING
WRIGHT, FINLAY & ZAK, LLP
WSFS BANK
XACTUS
Eric Bowlby
Kenneth Bowlby
Erik Lutz
Fred Kron
Andrew Platt
Robin Kasitz
Peter Maniccia
Kelly Powers
Brittney Stratton
Jamieson Breuker
Benjamin Jones
Kristine Pelatt
Caroline Kelly
Alexandria Orth
Christina Castrellon
Edward Consalvi
Manuel Padro
Jennifer Kennedy
Kenneth Wigley
Sharicka McHenry
Leslie Robles
Patricia D'Pulos
Brittney Iannacone
Cameron Odle
Patricia Luna
Tasha Christenson
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Linda Welsch
Randall Kocinski
Cheryl Printz
LaVonne Giacomini
Samantha Kimbrell
Sara Olmedo
Sead Bahor
Kelly Littrell
Ted Wilkinson
Delora Bearden
Lindsey Warren
Shelley Wilson
Emily Norton
Madonna Radeff
Mary Johnson
Ruth Alcorn
Steven Larsen
Luis Tiscareno
Brianne Taylor
Ivan Tiscareno
Larissa Lewis
Rogelio Sanchez
Letisha Merritt
Shair Riebli‐Hull
Renee Zabel
Colby Barnes
Kenneth Staker
Craig Willis
Heber Schnebly
Tessa Carter
Judith Gould
TEXAS CAPITAL BANK
Origin Bank
Alliance Bank of Arizona                                                       2701 E Camelback Rd., Suite 110, Phoenix, AZ 85016
Flagstar Bank                                                                  301 W Michigan Ave, Jackson MI 49201
Veritex Community Bank
JVB Financial
Alliance Bank of Arizona                                                       2701 E Camelback Rd., Suite 110, Phoenix, AZ 85016
BMO Harris Bank N.A.                                                           P.O. Box 94033 Palatine, IL 60094‐4033
Chase Bank                                                                     2509 S Power Rd, Suite 103, Mesa AZ 85209
Flagstar Bank                                                                  301 W Michigan Ave, Jackson MI 49201
Wells Fargo                                                                    P.O. Box 6995 Portland, OR 97228‐6995
FHLMC
FNMA
GNMA
Mourier Land Investment Corporation
El Camino Real Building
Alturas Stanford ‐ Was BRI 1871 Stanford, LLC
Cousins Fund II Phoenix III, LLC ‐ was Cousins Realty Servies, LLC
HARRIS PARK
Regus
Premier Business Centers
275 Rivulon Blvd., LLC
Academy Mortgage
CoSol Property Management, Inc
Robinson Group Realty
United Insurance Company of America
RCP CREDIT OPPORTUNITIES FUND LOAN SPV (FUND III), L.P.                        590 Madison Ave., Fl. 29, New York, NY 10022
RCP Customized Credit Fund (Fund IV‐A), L.P.                                   590 Madison Ave., Fl. 29, New York, NY 10022
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Fill in this information to identify the case:

Debtor name         Phoenix 1040 LLC

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration       Corporate Ownership Statement; List of Equity Security Holders; and
                                                                Certification of Creditor Matrix

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 24, 2023                 X /s/ T. Scott Avila
                                                           Signature of individual signing on behalf of debtor

                                                            T. Scott Avila
                                                            Printed name

                                                            Chief Restructuring Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
